Case 2:20-cv-00014-JPJ-PMS Document 104 Filed 11/01/21 Pagelof4 Pageid#: 855

CLERK'S OFFICE

U.S.
AT ABINGDON, tr COURT
FILED
IN THE UNITED STATES DISTRICT COURT NOV - 1 2021
FOR THE WESTERN DISTRICT OF VIRGINIA “dt C. DUDLEY, CLERK
BY: :
Meals
| MELINDA SCOTT, )
| )
PLAINTIFF. )
)
V. ) CL NO. 2:20cv14
)
WISE CO. DSS, )
ET AL., )
)
DEFENDANTS. )

MOTION TO SEAL/FOR PROTECTIVE ORDER

COMES NOW, the Plaintiff, Melinda Scott, and states as follows:

On October 23, 2021 Defendant Moon, by counsel, filed a Reply with accompanying
exhibits (docket #99). In the accompanying exhibits (docket #99-attachment 3) Defendant Moon’s
counsel attached documents from court records not normally available to the public that had

identifying information about the Plaintiff, including (a) residential information (b) vehicle make

 

and model and (c) place of (graduate) school attendance (d) location of banking and (e)
whereabouts of her children. Defendant Moon’s counsel did not use any courtesy or discretion
when posting this information and likely did it to try to jab at the Plaintiff, as one of the exhibits

had no relevance to his Reply.

MOTION TO SEAL/PROTECTIVE ORDER
10.27.21
PAGE 1 of 4
Case 2:20-cv-00014-JPJ-PMS Document 104 Filed 11/01/21 Page2of4 Pageid#: 856

On October 23, 2017 docket #99-attachment 3 was uploaded by a user of the website
owned by Defendant Moon, KiwiFarms.net. Between March 13, 2017 and the present date, users
of Defendant Moon’s website KiwiFarms.net have engaged in Cyberstalking behaviors, including
but not limited to: (a) tracking the Plaintiff’s residential information’ (b) tracking the Plaintiff’s
county of residence’ (c) tracking the Plaintiff’s whereabouts* (d) sharing information from their
findings of bullets (a) through (c) for an international audience by posting it on the website
‘KiwiFarms.net, (d) sent the Plaintiff harassing emails saying they intended to use her residential
information to exploit. and harm her (docket #43, Exhibit A), (e) made death threats to the Plaintiff
(docket #43, exhibit B) (f) made threats to do bodily injury to the Plaintiff (g) made threats to do
bodily injury to her children® and (h) made threats to stalk her children through “doxxing” and
otherwise’ (also docket #43, exhibit A). Additionally, Joshua Moon has made threats to use the
Plaintiff’s residential information to harass her, send drunkards to her house and cause bodily

injury’.

 

* https://kiwifarms.net/threads/melinda-leigh-scott-marshall-castersen.32118/post-6902180
? https://kiwifarms.net/threads/melinda-leigh-scott-marshall-castersen.32118/post-10233989
3

https://kiwifarms. net/threads/2018-12-12-melinda-leigh-scott-v-andrew-carison-joshua-moon-sherod-degrippo
.50975/post-4097481

“ https://kiwifarms.net/threacs/melinda-leigh-scott-marshall-castersen.32118/post-6005455

* https://kiwifarms.net/threads/melinda-leigh-scott-marshall-castersen.32118/post-6939700

(eee tts. //kiwifarms.net/threads/melinda-leigh-scott-marshall-castersen.32118/post-10278703 _.

* Joshua Moon owns a YouTube channel called “MATI Archive”. In a YouTube video published on his
channel, which was entitled “The Fungus Among Us” and published September 10, 2021, Joshua Moon
stated he hac: (a) the intent to harass the Plaintiff via third parties he planned to hire and send to her house
(b) the intent to cause the Plaintiff bodily injury through a third party he planned to hire and send to her
house, (c) the intent to send drunkards, intimidating strangers and trouble makers who bring crime to the
Plaintiff's house to take her money and property. The hyperlink to the video is

https:/Awww. youtube.com/watch?v=2BCenYWoLw0./// His statements appear on the following at
timestamps: (1) Intent to send a harassing drunkard: 1:05:50: “Il need aggravating white trash in the state of
Virginia willing to visit this house and demand property...1 need the most Sickerish man that has ever lived to
wear a GoPro and record himself...” (2) Intent to cause bodily injury by a third party: 1:06:34: “I need
someone...who can handle himself in a physical_confrontation" (3) Intent to harass the Plaintiff via a third
party: 1:06:58: “My thought is, if she's currently being harassed by white trash incarnate, she cannot sue
me anymore...”. (4) Intent to engage in phone harassment 1:07:10: "being called at random hours of the
day” (5) Intent to send strangers to the Plaintiff's residence: 1:07:15 “and being visited by a strange man...”
(6) Intent to use video footage for Internet Harassment: {a) 1:07:34: “You can stream the footage” and (b)

MOTION TO SEAL/PROTECTIVE ORDER
10.27.21
| PAGE 20f4
Case 2:20-cv-00014-JPJ-PMS Document 104 Filed 11/01/21 Page 3of4 Pageid#: 857

Plaintiff petitions this court, by motion, for the following:

(A) that this court order any of Defendant Moon’s counsel of record to cease and desist
from electronically publishing any exhibit containing the Plaintiff’s (1) residential address, (2)
county of residence, (3) places of employment or business, (4) place of attendance at any graduate
school (5) make, model, year of vehicles and (6) whereabouts of children and (7) any other
identifying information which can be improperly used for stalking or in violation of a law, such as

ee

social security numbers, etc; AND :
(B) that this court require Defendant Moon’s counsel to submit directly to the Clerk of the
court any exhibit that contains identifying information which can be improperly used for stalking or
in violation of a law such as the Plaintiff’s (1) residential address, (2) county of residence, (3)
places of employment or business (4) place of attendance at any graduate school (5) make, model,
year of vehicles (6) her children’s whereabouts and (7) any other identifying information such as
social security numbers, etc; AND
(C) that this court seal any more exhibits submitted by any counsel of record which
contains identifying information about the Plaintiff and which could be improperly used for
stalking or in violation of a law such as the Plaintiff’s (1) residential address, (2) county of
enn Fesidence,(3).place-ofemployment or business, (4) place of attendance at any graduate school (5)

make, model, year of vehicles and (6) any other identifying information such as social security

numbers, etc;

 

1:07:37 “As long as | can also do whatever | want with the footage.(7) Intent to send a troublemaker who
brings crime along with him to Plaintiff's house: “Ice Poseidon needs money, right?". “Ice Poseidon” (Paul
Denino) is another toxic website owner whose followers commit crimes against people featured on his show
{See
https://dotesports.com/streaming/news/ice-poseidon-releases-open-letter-to-twitch-apologizes-for-past-beha
viar)

MOTION TO SEAL/PROTECTIVE ORDER
10.27.21
PAGE 3 of 4
Case 2:20-cv-00014-JPJ-PMS Document 104 Filed 11/01/21 Page4of4 Pageid#: 858

I ASK FOR THIS,

  

PO BOX 1133-2014PMB87 (VA ACP address)
Richmond, VA 23218

540-692-2342

mscottw@gmu.edu

CERTIFICATE OF SERVICE

I certify that I have mailed a copy of this MOTION TO SEAL/FOR PROTECTIVE ORDER to
Counsel for the Defendant, Matthew D. Hardin, VSB #87482, 1725 I Street NW, Suite 300,

dur

Washington, D.C., 20006, and at matthewdhardin@gmail.com on this day of OCT., 2021.

SIGNED,

 

Richmond, VA 23218
540-692-2342
mscottw@gmu.edu

 

oi eindaScot pro-se
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MOTION TO SEAL/PROTECTIVE ORDER
10.27.21
PAGE 4 of 4
